     Case 4:24-cv-04722-YGR           Document 150     Filed 04/10/25     Page 1 of 34



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19
                                 UNITED STATES DISTRICT COURT
20
                              NORTHERN DISTRICT OF CALIFORNIA
21
                                          OAKLAND DIVISION
22

23    ELON MUSK, et al.,                                Case No. 4:24-cv-04722-YGR
24                      Plaintiffs,                     OPENAI DEFENDANTS’ REPLY IN
                                                        SUPPORT OF MOTION TO DISMISS
25           v.                                         FIRST AMENDED COMPLAINT
26    SAMUEL ALTMAN, et al.,                            Date: May 28, 2025
                                                        Time: 10:00 a.m.
27                      Defendants.                     Courtroom: 1 – 4th Floor
                                                        Judge: Hon. Yvonne Gonzalez Rogers
28


             OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                        CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR                        Document 150                   Filed 04/10/25              Page 2 of 34



 1                                                       TABLE OF CONTENTS
 2   INTRODUCTION .......................................................................................................................... 1
 3   ARGUMENT .................................................................................................................................. 2
 4   I.        MUSK’S ALLEGATIONS CANNOT SUPPORT ANY CONTRACT CLAIM. ............. 2
 5              A.        Musk fails to plead breach of an express contract (Count I). .................................. 2
 6              B.        Musk does not plead an implied contract (Count II). .............................................. 6
 7              C.        Musk does not plead an implied covenant claim (Count III). ................................. 9
 8   II.       PLAINTIFFS’ ALLEGATIONS CANNOT SUPPORT ANY FRAUD CLAIM. ........... 10
 9              A.        Musk’s fraud claim is time-barred (Count VII). ................................................... 10
10              B.        Musk fails to plead fraud with particularity (Count VII). ..................................... 11
11              C.        Musk’s unjust enrichment claim falls with his fraud claim (Count IV). ............... 13
12              D.        Musk’s constructive fraud claim likewise fails (Count VI). ................................. 13
13              E.        Musk and xAI do not plead a civil RICO violation (Counts XXV & XXVI). ...... 14
14                        1.         Plaintiffs do not allege predicate acts of wire fraud. ................................. 14
15                        2.         Plaintiffs’ RICO claims also fail for independent reasons. ....................... 15
16   III.      MUSK’S CLAIM FOR BREACH OF CHARITABLE TRUST...................................... 16
17   IV.       THE FALSE ADVERTISING CLAIMS (COUNTS XVIII & XIX) SHOULD BE
               DISMISSED...................................................................................................................... 16
18
                A.        Plaintiffs’ California false advertising claim (Count XIX) fails. .......................... 17
19
                B.        Plaintiffs’ Lanham Act claim (Count XVIII) fails. ............................................... 19
20
     V.        PLAINTIFFS’ DERIVATIVE CLAIMS (COUNTS XXII, XXIV) FAIL. ...................... 20
21
                A.        Musk and Zilis lack standing to assert derivative claims. ..................................... 20
22
                B.        Musk and Zilis fail to state a claim for breach of fiduciary duty (Count
23                        XXII). .................................................................................................................... 22
24   VI.       PLAINTIFFS’ ANTITRUST CLAIMS (COUNTS IX-XVI)........................................... 23
25   VII.      PLAINTIFFS’ ACCESSORY CLAIMS (COUNTS V, VIII, XXI & XXIV) FAIL. ....... 23
26   VIII.     PLAINTIFFS’ UCL CLAIM (COUNT XVII) SHOULD BE DISMISSED. ................... 24
27   CONCLUSION ............................................................................................................................. 25
28

                                                                             ii
                  OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                             CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR                      Document 150                  Filed 04/10/25            Page 3 of 34



 1                                                   TABLE OF AUTHORITIES
 2                                                                                                                                   Page(s)

 3   Cases

 4   Alfasigma USA, Inc. v. First Databank, Inc.,
         525 F. Supp. 3d 1088 (N.D. Cal. 2021) .................................................................................. 19
 5
     Am. Emps. Grp., Inc. v. Emp. Dev. Dep’t,
 6      154 Cal. App. 4th 836 (2007) ................................................................................................... 2

 7   Aniel v. PHH Mortg. Corp.,
        2022 WL 2164702 (N.D. Cal. June 1, 2022) .......................................................................... 14
 8
     Anunziato v. eMachines, Inc.,
 9      402 F. Supp. 2d 1133 (C.D. Cal. 2005) .................................................................................. 18
10   Astiana v. Hain Celestial Grp., Inc.,
         783 F.3d 753 (2015) ................................................................................................................ 13
11
     Baba v. Hewlett-Packard Co.,
12      2010 WL 2486353 (N.D. Cal. June 16, 2010) ........................................................................ 25
13   Bader v. Anderson,
        179 Cal. App. 4th 775 (2009) ............................................................................... 21, 22 & n.11
14
     Behnke v. State Farm Gen. Ins. Co.,
15      196 Cal. App. 4th 1443 (2011) ......................................................................................... 11, 12
16   Burch v. Premier Homes, LLC,
        199 Cal. App. 4th 730 (2011) ................................................................................................... 2
17
     Burnett v. Chimney Sweep,
18      123 Cal. App. 4th 1057 (2004) ................................................................................................. 3
19   Case del Caffe Vergnano S.P.A. v. ItalFlavors, LLC,
        816 F.3d 1208 (9th Cir. 2016)................................................................................................... 2
20
     Casey v. U.S. Bank Nat’l Ass’n,
21      127 Cal. App. 4th 1138 (2005) ............................................................................................... 23
22   Chen v. PayPal, Inc.,
        61 Cal. App. 5th 559 (2021) ............................................................................................... 9 n.3
23
     Copeland v. Lane,
24
        2013 WL 1899741 (N.D. Cal. May 6, 2013) .................................................................. 21 n.10
25   Desoto v. Condon,
26      371 F. App’x 822 (9th Cir. 2010) ........................................................................................... 14
     Diaz v. Intuit, Inc.,
27
        2018 WL 2215790 (N.D. Cal. May 15, 2018) ........................................................................ 24
28

                                                                         iii
                  OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                             CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR                    Document 150                Filed 04/10/25            Page 4 of 34



 1   Dreifort v. DJO Global Inc.,
        2019 WL 5578240 (S.D. Cal. Oct. 28, 2019) ......................................................................... 25
 2
     Durell v. Sharp Healthcare,
 3      183 Cal. App. 4th 1350 (2010) ............................................................................................... 25
 4   Eclectic Props. E., LLC v. Marcus & Millichap Co.,
        751 F.3d 990 (9th Cir. 2014)................................................................................................... 14
 5
     Fabian v. LeMahieu,
 6      2019 WL 4918431 (N.D. Cal. Oct. 4, 2019) ............................................................................. 8
 7   Faigin v. Signature Group Holdings, Inc.,
        211 Cal. App. 4th 726 (2012) ................................................................................................... 9
 8
     Ferrari v. Mercedes-Benz USA, LLC,
 9      2016 WL 7188030 (N.D. Cal. Dec. 12, 2016) ........................................................................ 15
10   Fleming v. Coverstone,
        2009 WL 764887 (S.D. Cal. Mar. 18, 2009) ............................................................................ 4
11
     Gjovik v. Apple Inc.,
12
        2024 WL 2309100 (N.D. Cal. May 20, 2024) ........................................................................ 15
13   Glenn v. Univ. of S. Cal.,
14      2002 WL 31022068 (Cal. Ct. App. Sept. 10, 2002) ..................................................... 7, 11, 12
     Haskins v. Symantec Corp.,
15
        2013 WL 6234610 (N.D. Cal. Dec. 2, 2013) ............................................................................ 5
16
     Haskins v. Symantec Corp.,
17      2014 WL 2450996 (N.D. Cal. June 2, 2024) ............................................................................ 6

18   Holguin v. Dish Network LLC,
        229 Cal. App. 4th 1310 (2014) ................................................................................................. 4
19
     HomeLight, Inc. v. Shkipin,
20     694 F. Supp. 3d 1242 (N.D. Cal. 2023) ............................................................................ 17, 19

21   Huynh v. Chase Manhattan Bank,
        465 F.3d 992 (9th Cir. 2006)................................................................................................... 10
22
     Impac Warehouse Lending Grp. v. Credit Suisse First Boston Corp.,
23      2006 WL 6935318 (C.D. Cal. June 20, 2006) ........................................................................ 24

24   In re Apple Inc. Device Performance Litig.,
         386 F. Supp. 3d 1155 (N.D. Cal. 2019) .................................................................................... 2
25
     In re Massey Energy Co. Derivative & Class Action Litig.,
26       160 A.3d 484 (Del. Ch. 2017) ......................................................................................... 22 n.11

27   In re Toyota Motor Corp. Unintended Acceleration Mktg.,
         754 F. Supp. 2d 1145 (C.D. Cal. 2010) .................................................................................. 18
28

                                                                      iv
                 OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                            CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR                      Document 150                Filed 04/10/25             Page 5 of 34



 1   In re Verisign, Inc. Derivative Litig.,
         531 F. Supp. 2d 1173 (N.D. Cal. 2007) .................................................................................. 14
 2
     Jara v. Suprema Meats, Inc.,
 3      121 Cal. App. 4th 1238 (2004) ................................................................................................. 5
 4   Kashmiri v. Regents of Univ. of Cal.,
        156 Cal. App. 4th 809 (2007) ................................................................................................... 9
 5
     Kona Enters., Inc. v. Estate of Bishop,
 6      179 F.3d 767 (9th Cir. 1999)................................................................................................... 21
 7   Laborers’ Loc. v. Intersil,
        868 F. Supp. 2d 838 (N.D. Cal. 2012) ............................................................................ 22 n.11
 8
     Langan v. United Servs. Auto. Ass’n.,
 9      69 F. Supp. 3d 965 (N.D. Cal. 2014) ........................................................................................ 9
10   Language Line Servs., Inc. v. Language Servs. Assocs., LLC,
        2011 WL 13153247 (N.D. Cal. Mar. 17, 2011) ...................................................................... 19
11
     Lantz Ret. Inv., LLC v. Glover,
12
        2020 WL 528890 (E.D. Cal. Jan. 31, 2020).................................................................... 22 n.11
13   Lazar v. Superior Ct.,
14      12 Cal. 4th 631 (1996) ............................................................................................................ 12
     L.B. Rsch. & Educ. Found. v. UCLA Found.,
15
        130 Cal. App. 4th 171 (2005) ................................................................................................... 7
16
     LegalForce, Inc. v. LegalZoom.com, Inc.,
17      2019 WL 1170779 (N.D. Cal. Mar. 13, 2019) ................................................................... 19-20

18   Levy v. Only Cremations for Pets, Inc.,
        57 Cal. App. 5th 203 (2020) ................................................................................................. 7, 8
19
     Louis v. Nailtiques Cosmetic Corp.,
20      423 F. App’x 711 (9th Cir. 2011) ........................................................................................... 11

21   McCann v. Lucky Money, Inc.,
       129 Cal. App. 4th 1382 (2005) ......................................................................................... 17, 18
22
     McMichael v. U.S. Filter Corp.,
23     2001 WL 418981 (C.D. Cal. Feb. 23, 2001) ........................................................................... 22

24   Melrose Place Holdings v. Socotra Opportunity Fund, LLC,
        2022 WL 3013226 (C.D. Cal. May 31, 2022) ........................................................................ 24
25
     Metro Servs. Grp. v. Travelers Cas. & Sur. Co. of Am.,
26      2021 WL 2633416 (N.D. Cal. June 25, 2021) ........................................................................ 16

27   Michaelian v. State Comp. Ins. Fund,
        50 Cal. App. 4th 1093 (1996) ................................................................................................... 6
28

                                                                         v
                 OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                            CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR                      Document 150                 Filed 04/10/25            Page 6 of 34



 1   Mintz v. Blue Cross of Cal.,
        172 Cal. App. 4th 1594 (2009) ............................................................................................... 23
 2
     Muldoon v. DePuy Orthopaedics, Inc.,
 3      2024 WL 3522204 (N.D. Cal. July 23, 2024) ................................................................... 18 n.8
 4   Negrete v. Allianz Life Ins. Co.,
        926 F. Supp. 2d 1143 (C.D. Cal. 2013) .................................................................................. 15
 5
     Netbula, LLC v. BindView Dev. Corp.,
 6      516 F. Supp. 2d 1137 (N.D. Cal. 2007) .............................................................................. 5 n.1
 7   Newcal Indus., Inc. v. Ikon Office Sol.,
        513 F.3d 1038 (9th Cir. 2008)................................................................................................. 18
 8
     Off. Comm. of Bond Holders of Metricom, Inc. v. Derrickson,
 9       2004 WL 2151336 (N.D. Cal. Feb. 25, 2004) .................................................................. 22, 23
10   Pac. Bay Recovery, Inc. v. Cal. Physicians’ Servs., Inc.,
        12 Cal. App. 5th 200 (2017) ..................................................................................................... 2
11
     Pacira BioSciences, Inc. v. Ventis Pharma, Inc.,
12
        2025 WL 576549 (C.D. Cal. Jan. 17, 2025) ..................................................................... 18 n.8
13   Patel v. Liebermensch,
14      45 Cal. 4th 344 (2008) .............................................................................................................. 4
     People ex rel. Dep’t of Motor Vehicles v. Cars 4 Causes,
15
        139 Cal. App. 4th 1006 (2006) ......................................................................................... 17 n.7
16
     People v. Orange County Charitable Servs.,
17      73 Cal. App. 4th 1054 (1999) ........................................................................................... 17 n.7

18   Potter v. Hughes,
        546 F.3d 1051 (9th Cir. 2008)................................................................................................. 22
19
     Quinn v. Anvil Corp.,
20      620 F.3d 1005 (9th Cir. 2010)................................................................................................. 21

21   Rachford v. Air Line Pilots Ass’n,
        2006 WL 1699578 (N.D. Cal. June 16, 2006) ........................................................................ 24
22
     Reeder v. Specialized Loan Servicing LLC,
23      52 Cal. App. 5th 795 (2020) ..................................................................................................... 3

24   Richardson v. Reliance Nat’l Indem. Co.,
        2000 WL 284211 (N.D. Cal. Mar. 9, 2000) ............................................................................ 13
25
     Ross v. Sioux Honey Ass’n, Co-op.,
26      2013 WL 146367 (N.D. Cal. Jan. 14, 2013) ............................................................................. 6

27   Sanford v. MemberWorks, Inc.,
        625 F.3d 550 (9th Cir. 2010)................................................................................................... 16
28

                                                                         vi
                 OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                            CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR                        Document 150                  Filed 04/10/25             Page 7 of 34



 1   Seva v. Shri Shirdi Sai Baba Sansthin L.A.,
        2013 WL 1431673 (C.D. Cal. Apr. 9, 2013) .......................................................................... 14
 2
     Shields v. Singleton,
 3       15 Cal. App. 4th 1611 (1993) ................................................................................................. 21
 4   Stang v. Teal Drones, Inc.,
        2023 WL 11956372 (N.D. Cal. July 27, 2023) ....................................................................... 23
 5
     Sybersound Records, Inc. v. UAV Corp.,
 6      517 F.3d 1137 (9th Cir. 2008)................................................................................................. 15
 7   Two Ten, LLC v. Cellxion, LLC,
        2012 WL 12905554 (C.D. Cal. Apr. 30, 2012) ...................................................................... 21
 8
     Valencia v. Sharp Elecs. Corp.,
 9      561 Fed. App’x 591 (9th Cir. 2014)........................................................................................ 13
10   Verde Media Corp. v. Levi,
        2015 WL 374934 (N.D. Cal. Jan. 28, 2015) ............................................................. 5 & n.1, 13
11
     Voyager Indem. Ins. Co. v. Goldsmith,
12
        733 F. Supp. 3d 905 (C.D. Cal. 2024) ................................................................................ 5 n.2
13   Wagh v. Metris Direct, Inc.,
14     363 F.3d 821 (9th Cir. 2003)................................................................................................... 16
     Weddington Prods., Inc. v. Flick,
15
       60 Cal. App. 4th 793 (1998) ............................................................................................... 5 n.1
16
     Westron v. Zoom Video Commc’ns, Inc.,
17      2023 WL 3149262 (N.D. Cal. Feb. 15, 2023) .......................................................................... 6

18   Wisniewski v. Presidio Place Condo. Ass’n,
        2002 WL 31032464 (Cal. Ct. App. Sept. 12, 2002) ............................................................... 20
19
     Yari v. Producers Guild of Am., Inc.,
20      161 Cal. App. 4th 172 (2008) ................................................................................................... 7

21   Zeiger v. WellPet LLC,
        304 F. Supp. 3d 837 (N.D. Cal. 2018) .................................................................................... 18
22
     Zenith Ins. Co. v. O’Connor,
23      148 Cal. App. 4th 998 (2007) ................................................................................................... 7

24   Statutes and Rules

25   15 U.S.C. § 1125 ........................................................................................................................... 16

26   18 U.S.C. § 1962 ............................................................................................................... 14, 15, 16
     Cal. Bus. & Prof. Code §§ 17500 et seq. ................................................................................ 16, 17
27
     Cal. Civ. Code § 1614 ..................................................................................................................... 6
28

                                                                           vii
                  OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                             CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR                        Document 150                  Filed 04/10/25             Page 8 of 34



 1   Cal. Civ. Code § 1620 ..................................................................................................................... 2
 2   Cal. Civ. Proc. Code § 338............................................................................................................ 10

 3   Cal. Corp. Code § 5233 ........................................................................................................... 20 n.9

 4   Cal. Corp. Code § 5710 ........................................................................................................... 20, 21

 5   Fed. R. Civ. P. 9(b) ....................................................................................................... 1, 11, 13, 14

 6   Fed. R. Civ. P. 23.1 ....................................................................................................................... 21
     Other Authorities
 7
     Restatement (Second) of Contracts § 2 ........................................................................................... 2
 8
     Restatement (Second) of Contracts § 17 ......................................................................................... 2
 9

10

11

12

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28

                                                                          viii
                  OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                             CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR           Document 150        Filed 04/10/25       Page 9 of 34



 1                                            INTRODUCTION
 2          Now on his third complaint, Musk still cannot plead a contract or a fraudulent promise. He
 3   says his charitable donations were not donations at all but the product of a quid pro quo—
 4   exchanged for identifiable contractual undertakings. Yet the only well-pleaded allegations defeat
 5   rather than support that characterization. Musk says false promises were made to him, but points to
 6   no allegation supporting knowledge that any identifiable promise was false when made. These
 7   defects doom many of Plaintiffs’ claims, and the others that have not been sustained or stayed
 8   should likewise be dismissed with prejudice:
 9          1.       Plaintiffs fail to plausibly plead the existence of any contractual promises governing
10   Musk’s alleged donations to OpenAI, Inc. (“OpenAI”). They identify no contractual terms, nor
11   agreement to those terms by contractual counterparties, nor any bargained-for consideration in
12   exchange. Plaintiffs cite no case, from any jurisdiction, sustaining a contract claim in these
13   circumstances. Each of Musk’s contract claims fails (Counts I, II, III, V).
14          2.       Plaintiffs likewise fail to allege any fraudulent promise (Counts IV, VI, VII, VIII),
15   much less one that was broken, and still less so with the particularity required under Rule 9(b).
16   Without that basic predicate, Plaintiffs’ civil RICO claims (Counts XXV and XXVI) fail, too.
17   Plaintiffs’ fraud claims are also untimely on the face of the complaint and should be dismissed on
18   that independent basis.
19          3.       Plaintiffs fail to allege the “commercial advertisement” needed to sustain their
20   claims for false advertising under state or federal law (Counts XVIII and XIX), and again identify
21   no case excusing this pleading defect.
22          4.       Plaintiffs now concede that they lack standing to assert any of their derivative claims
23   pursuant to the Court’s prior ruling on their derivative self-dealing claim (Counts XXII and XXIV).
24          5.       Plaintiffs’ accessory claims (Counts V, VIII, XXI, XXIV) against more than a dozen
25   so-called “For-Profit Entities” fail for want of any underlying primary violations, are unsupported
26   by any well-pleaded allegations that any of these entities did anything to “substantially assist” in
27   the alleged wrongdoing, and are legally barred by the “agency immunity” rule in any event.
28          Apart from claims that have been severed and stayed by the Court, the OpenAI Defendants’


                 OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                            CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR          Document 150          Filed 04/10/25    Page 10 of 34



 1    motion to dismiss should be granted in full as to all remaining claims at issue (Counts I-VIII, XIX,

 2    XXI, XXII, XXIV-XXVI).

 3                                              ARGUMENT

 4    I.     MUSK’S ALLEGATIONS CANNOT SUPPORT ANY CONTRACT CLAIM.

 5           A.      Musk fails to plead breach of an express contract (Count I).

 6           Musk says he has pleaded an express written “contract” with Altman and OpenAI, grounded

 7    in the disjointed collection of public filings, emails, blog posts and other documents cited in the

 8    FAC. See ¶ 251. He has not. As the OpenAI Defendants showed in their opening brief, none of

 9    these documents—individually or taken together—reflects the “vital elements” of “mutual assent”

10    and bargained-for “consideration” required to state a claim for breach of an express contract under

11    California law. Pac. Bay Recovery, Inc. v. Cal. Physicians’ Servs., Inc., 12 Cal. App. 5th 200, 215

12    (2017) (citing Cal. Civ. Code § 1620); see Br. at 5-8.

13           No mutual assent. “Plaintiffs fail to state a claim” for breach of an express contract where

14    they “fail to specify what the contract is” or “what its terms are.” See In re Apple Inc. Device

15    Performance Litig., 386 F. Supp. 3d 1155, 1182 (N.D. Cal. 2019). The FAC flunks this test, as it

16    pleads no facts showing “mutual intention to be bound by an agreement,” i.e., “the sine qua non of

17    legally enforceable contracts.” Case del Caffe Vergnano S.P.A. v. ItalFlavors, LLC, 816 F.3d 1208,

18    1212 (9th Cir. 2016) (citing Restatement (Second) of Contracts §§ 2, 17). Nothing in the assortment

19    of documents Musk cites shows a “meeting of the minds on all material points” or evidences an

20    objective, and mutual, “intent to be bound” to the terms alleged. See Am. Emps. Grp., Inc. v. Emp.

21    Dev. Dep’t, 154 Cal. App. 4th 836, 846-47 (2007); Burch v. Premier Homes, LLC, 199 Cal. App.

22    4th 730, 746 (2011). This defect alone requires dismissal.

23           In his opposition, Musk simply rehashes the conclusory allegations of the FAC, claiming to

24    have personally received “specific commitments from Altman and OpenAI, Inc.,” including (1) that

25    “OpenAI would be a section 501(c)(3) non-profit and retain ownership of all its AI technology,”

26    (2) that its “technology would serve public, not private interests,” (3) that it would operate

27    “unconstrained by a need to generate financial return,” (4) that its “benefits would be widely and

28    evenly distributed to avoid undue concentrations of power,” (5) that its “technology would be open

                                                       2
               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR           Document 150          Filed 04/10/25     Page 11 of 34



 1    sourced for public benefit,” and (6) that it “would prioritize safety over profit.” Opp. at 6 (citing

 2    ¶ 251). Musk asserts that these “terms” were “proffered by Altman/OpenAI, Inc.” and that he

 3    personally accepted them. Id. But the FAC alleges no facts to support this bare assertion, much less

 4    any facts showing “clear, ascertainable [contractual] obligations.” See id.

 5           The majority of these “terms” are ones Musk purports to draw from OpenAI’s initial

 6    registration form with the California Attorney General and the Delaware Certificate of

 7    Incorporation attached thereto. See ¶ 251(a), (b), (c), (d), (e), (f) (citing FAC, Ex. 21). Musk

 8    identifies no authority suggesting OpenAI’s filings with public regulators—which do not mention

 9    Musk—can reflect contractual commitments to him personally. See Burnett v. Chimney Sweep, 123

10    Cal. App. 4th 1057, 1069-70 (2004) (third party not mentioned in written instrument could not sue

11    for alleged breach of contract, as a “third party should not be permitted to enforce covenants made

12    not for his benefit, but rather for others[;] [h]e is not a contracting party”). Nor do the emails Musk

13    identifies attaching a draft press release in December 2015 (see FAC, Ex. 4) and OpenAI’s Charter

14    two-and-a-half years later (see FAC, Ex. 17) contain any promises directed toward Musk.

15           As for the June 2015 email exchange in which Altman and Musk brainstormed a possible

16    “AI lab,” (FAC, Ex. 2), it is well-settled that “[p]reliminary negotiations” “are not enforceable

17    contracts.” Reeder v. Specialized Loan Servicing LLC, 52 Cal. App. 5th 795, 802-03 (2020)

18    (“alleged oral agreement” reflecting at most “[p]reliminary negotiations” was “so uncertain and

19    indefinite that the intention of the parties in material particulars [could not] be ascertained”).

20    Altman’s email, sent months before OpenAI even existed, is not even that; it is preliminary

21    brainstorming, containing no offer or undertaking to Musk of any kind.

22           Nor do the pleaded facts show Musk’s “assent” to these supposed commitments. Musk

23    claims to have “assented” to these “terms” on two occasions: (1) writing “[a]gree on all” in response

24    to Altman’s preliminary brainstorming email in June 2015, sent months before OpenAI—one of

25    two alleged counterparties—even existed (FAC, Ex. 2); and (2) responding “ok” more than two

26    years later to a September 2017 email in which Zilis (not an alleged counterparty) purported to

27    summarize Brockman’s and Sutskever’s (not alleged counterparties) thinking regarding OpenAI’s

28    structure and fundraising, in which Zilis expressly disclaimed having “spoken to Altman” (the other

                                                        3
               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR           Document 150          Filed 04/10/25     Page 12 of 34



 1    alleged counterparty) (FAC, Ex. 14). See Opp. at 6. Musk does not dispute that the first of these

 2    emails was sent when OpenAI did not even exist and remained entirely hypothetical, nor does he

 3    contest that the second email does not involve any of the alleged counterparties to the purported

 4    contract. And neither email includes the purported terms of the contract, let alone reflects that any

 5    of the alleged counterparties intended to be bound by them.

 6           Musk identifies no case recognizing an enforceable contract in similar circumstances. He

 7    invokes Holguin v. Dish Network LLC, 229 Cal. App. 4th 1310 (2014), for the proposition that a

 8    contract “may exist in a series of informal writings” under California law. Opp. at 6. But the “series”

 9    of documents in that case included several “written instruments” memorializing a satellite TV

10    purchase—an “Order Form, Residential Customer Agreement, Service Agreements, and Promotion

11    Agreement [that] were part of a single transaction”—and were “so interrelated as to be considered

12    one contract,” including because several of them “expressly reference[d] or incorporate[d] one

13    another.” Holguin, 229 Cal. App. at 1321. In stark contrast, Musk’s disparate documents reflect no

14    concrete contractual terms, span several years, cover a wide variety of unrelated topics, largely do

15    not even reference the supposed counterparties to the alleged contract, make no reference to each

16    other, and contain no suggestion that they were intended to “incorporate one another” or to

17    otherwise “be considered one contract.” Id.

18           Musk cites Patel v. Liebermensch, 45 Cal. 4th 344, 349 (2008), to suggest that a lack of

19    “technical precision” will not preclude finding an enforceable contract. See Opp. at 6. But the

20    contract at issue in Patel was a written option agreement, clearly entitling a tenant to purchase a

21    residential property. The only “[im]precision” at issue was the time and manner of payment

22    contemplated by the written instrument. Patel, 45 Cal. 4th at 350.

23           Finally, Musk cites Fleming v. Coverstone, 2009 WL 764887 (S.D. Cal. Mar. 18, 2009),

24    for the unremarkable proposition that an email response of “Agreed” can form a contract. See Opp.

25    at 6-7. But again, Fleming only highlights the deficiencies in Musk’s claim. There, the plaintiff sent

26    a message “confirm[ing] that [he] ha[d] agreed to sell and that [the defendant] ha[d] agreed to

27    purchase” certain patents—the email specified the precise patents involved in the sale, the purchase

28    price, closing date, details pertinent to the assignment of the intellectual property, and the manner

                                                        4
               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR          Document 150        Filed 04/10/25      Page 13 of 34



 1    of acceptance. 2009 WL 764887 at *1. Defendant accepted that contract by emailing “[a]greed. I

 2    will wire the [purchase price] tomorrow to your account.” Id. Nothing approximating that clear,

 3    unequivocal agreement to precise contractual terms exists here. That is dispositive. See, e.g.,

 4    Haskins v. Symantec Corp., 2013 WL 6234610, at *10 (N.D. Cal. Dec. 2, 2013) (dismissal where

 5    plaintiff “attempt[ed] to cobble together” a contract from disparate sources); see also Verde Media

 6    Corp. v. Levi, 2015 WL 374934, at *7 (N.D. Cal. Jan. 28, 2015) (dismissal; no contract based on

 7    an “in-person discussion and a few short and vague instant messages”).1

 8           For these reasons, Musk is wrong that “conflicting interpretations of the evidence” preclude

 9    dismissal. Opp. at 8. Even accepting the well-pleaded allegations of the complaint as true, the

10    assortment of emails and other documents Musk points to do not plausibly suggest the existence of

11    an enforceable written contract as a matter of law. Courts regularly dismiss express contract claims

12    on the pleadings in similar circumstances. See, e.g., Haskins v. Symantec Corp., 2013 WL 6234610

13    at *10; Verde Media Corp., 2015 WL 374934 at *7.2

14           No bargained-for consideration. Nor does the FAC plead bargained-for consideration. As

15    the OpenAI Defendants demonstrated in their opening brief (Br. at 8), not one of the documents

16    alleged to constitute Musk’s express, written contract indicates that OpenAI or Altman agreed to

17    Musk’s “commitments” in exchange for his donations—i.e., that any gift Musk conferred was

18    “bargained for,” Jara v. Suprema Meats, Inc., 121 Cal. App. 4th 1238, 1249 (2004). Indeed, not a

19    single document cited by Musk mentions any commitment by Musk to do anything at all—no

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      1
       Nor would any of Musk’s alleged “terms” be “sufficiently definite . . . to constitute an enforceable
      contract.” Netbula, LLC v. BindView Dev. Corp., 516 F. Supp. 2d 1137, 1155 (N.D. Cal. 2007).
23    Contract terms must be certain enough to “provide a basis for determining what obligations the
      parties have agreed to” and “make possible a determination of whether those agreed obligations
24    have been breached.” Weddington Prods., Inc. v. Flick, 60 Cal. App. 4th 793, 811-12 (1998); Verde
      Media, 2015 WL 374934, at *7. The purported “terms” Musk alleges—e.g., avoiding “undue
25
      concentrations of power” and “prioritiz[ing] safety over profit,” among others (Opp. at 6)—are too
26    abstract to constitute enforceable contractual terms.
      2
        Voyager Indem. Ins. Co. v. Goldsmith, 733 F. Supp. 3d 905 (C.D. Cal. 2024), does not suggest
27
      otherwise—the parties there disputed whether the defendant had orally accepted a formal written
28    settlement demand, a quintessential fact question incapable of being resolved on the pleadings. Id.
      at 918-20.
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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR          Document 150          Filed 04/10/25    Page 14 of 34



 1    document reflects a commitment by Musk to contribute to OpenAI, let alone in any specific

 2    amount, or in exchange for any specific promises from Altman or OpenAI.

 3           Musk cites Cal. Civ. Code § 1614 for the proposition that “[a]dequacy of consideration is

 4    presumed where, as here, there is written evidence of an agreement.” Opp. at 8 n.3. Musk is

 5    wrong—Section 1614’s presumption applies only where a contract is evidenced by a “written

 6    instrument,” not a series of informal writings. Where the writings alleged are other than “formal

 7    legal documents,” nothing is presumed. Michaelian v. State Comp. Ins. Fund, 50 Cal. App. 4th

 8    1093, 1112 (1996) (no presumption applied to letters).

 9           Musk otherwise rehashes the FAC’s conclusory assertion that Altman and OpenAI agreed

10    to his terms “in consideration for Musk’s contributions [$44 million], leasing of OpenAI, Inc.’s

11    office space, and payment of overhead, and [his] time, skill, advice, stature, and connections.” Opp.

12    at 8 (citing ¶ 251). Recognizing that nothing in this allegation reflects any “bargain,” Musk points

13    to “Altman’s [purported] solicitations and promises to Musk . . . most saliently the September 2017

14    email in which Altman promised to continue OpenAI as a non-profit in exchange for Musk’s

15    continued funding.” See Opp. at 8-9 (citing ¶¶ 103-04, 306-07 & FAC, Ex. 13 at 1, 4). Setting aside

16    that the majority of Musk’s alleged donations preceded Altman’s September 2017 email, the email

17    reflects no “solicitation” or “promise” to Musk, nor any commitment by Musk to do anything, nor

18    any other basis of consideration: Altman merely expressed his continued “enthusias[m]” about

19    OpenAI’s “non-profit structure.” See FAC, Ex. 13. If this is a bargain, the concept has no meaning.

20           B.      Musk does not plead an implied contract (Count II).

21           Implied contract claims must be dismissed on the pleadings where the plaintiff “alleges only

22    that the parties’ implied contract arose in some nonspecific manner from the Parties’ acts and

23    conduct” and fails to identify the “source of [the] claimed terms,” or to “explain how those terms

24    became part of the parties’ legal agreement.” Haskins v. Symantec Corp., 2014 WL 2450996, at *4

25    (N.D. Cal. June 2, 2014); see also Westron v. Zoom Video Commc’ns, Inc., 2023 WL 3149262, at

26    *2 (N.D. Cal. Feb. 15, 2023) (dismissing for failure to plead implied contract “with sufficient

27    particularity”); Ross v. Sioux Honey Ass’n, Co-op., 2013 WL 146367, at *18 (N.D. Cal. Jan. 14,

28    2013) (dismissal where plaintiff failed to “include any specific allegations suggesting that the

                                                       6
               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR           Document 150           Filed 04/10/25    Page 15 of 34



 1    conduct of the parties [] manifested an intent to create a contract, nor what the terms of that contract

 2    might be” and failed to “describe [a] bargained-for exchange at the core of the [alleged] implied

 3    contract”).

 4           Musk’s opposition argues that an implied contract was formed when he made “substantial

 5    contributions” to OpenAI that were then “accepted by Altman and OpenAI, Inc. to fund and further

 6    OpenAI’s operation as a non-profit dedicated to the development of safe and open AI.” Opp. at 9-

 7    10; see also ¶ 260. But that is no different than arguing that Musk contributed to OpenAI on the

 8    understanding that OpenAI would be a nonprofit. If that generalized allegation were sufficient to

 9    create an implied contract under California law, every donor would have an implied contract with

10    the charity they donated to on the same basis.

11           That is not the law. To the contrary, the few cases that have found enforceable contractual

12    commitments in the donor context have done so only where clear and definite terms directed that

13    donations be used for specific purpose—for example, a contract specifying restrictions on a

14    particular “endowed chair . . . in Cardiothoracic Surgery” within a broader charitable organization.

15    See L.B. Rsch. & Educ. Found. v. UCLA Found., 130 Cal. App. 4th 171, 175-76 (2005); Glenn v.

16    Univ. of S. Cal., 2002 WL 31022068, at *1, *3 (Cal. Ct. App. Sept. 10, 2002) (cited in Opp. at 12)

17    (permitting breach of contract claim concerning donation “to endow a professional chair to support

18    young, untenured researchers” at a gerontology center). No court has recognized a donor “contract”

19    where, as here, the donor alleges only that he provided funds for general charitable purposes.

20           In any event, and as Musk does not dispute, the “basic elements” of an implied contract are

21    the same as those of an express one. See Levy v. Only Cremations for Pets, Inc., 57 Cal. App. 5th

22    203, 211 (2020); Zenith Ins. Co. v. O’Connor, 148 Cal. App. 4th 998, 1010 (2007) (demurrer

23    sustained where plaintiff “did not allege the predicate facts necessary to establish [] an implied

24    contract”). The plaintiff must allege the terms of the agreement, mutual assent to those terms, and

25    bargained-for consideration. The only difference is that one looks “not [to] expressed [] words but

26    [to] . . . the promisor’s conduct” to see if the elements are adequately pleaded. See Yari v. Producers

27    Guild of Am., Inc., 161 Cal. App. 4th 172, 182 (2008).

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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR           Document 150          Filed 04/10/25     Page 16 of 34



 1           Yet Musk identifies no specific conduct purportedly evidencing offer and acceptance of any

 2    specific terms by Musk, OpenAI, or Altman. See Levy, 57 Cal. App. 5th at 211 (plaintiff asserting

 3    an implied contract must allege “some conduct . . . which could have been understood to be an offer

 4    to perform,” as it “is axiomatic that an acceptor must have knowledge of [an] offer” (cleaned up)).

 5    That failure is all the more striking given the breadth of the undertakings Musk now claims were

 6    made to him personally, which purportedly govern everything from OpenAI’s safety practices, to

 7    its corporate structure, to its policies on sharing research. See ¶¶ 254(f), (h); 265 (implied contract

 8    purportedly bars OpenAI “withholding details on GPT-4, GPT-4T, GPT-4o, and OpenAI o1’s

 9    architecture, hardware, training method, and training computation,” “releasing products that are

10    being used by state actors and cybercriminals to cause harm, as well as products, including but not

11    limited to Whisper, unfit for their intended purpose,” among many other alleged commitments).

12    Generalized allegations that Musk donated and that Altman and OpenAI purportedly “agreed”

13    through “conduct” to “further OpenAI’s operation as a non-profit” do not plead an implied

14    agreement to make enforceable commitments to Musk.

15           This Court’s decision in Fabian v. LeMahieu, 2019 WL 4918431 (N.D. Cal. Oct. 4, 2019),

16    is instructive. There, the plaintiff claimed he had an enforceable contract with defendants “related

17    to the safety and security of [a crypto] exchange” that could be implied from the defendants’

18    conduct, including: (1) “developing the business and marketing scheme to distinguish [a specific

19    cryptocoin] from the vast array of other cryptocurrencies,” (2) “approaching [one] [d]efendant []

20    for the purpose of creating a [] dedicated exchange,” (3) “representing to the public that [another

21    defendant] was working hard on solving [certain crypto-related] operational challenges,” and

22    (4) “recognizing the importance of and acknowledging responsibility for choosing [] proper

23    exchanges.” Id. at *10 (cleaned up). This Court dismissed with prejudice, however, holding that

24    because the alleged conduct “merely represent[ed] the [] [d]efendants’ conduct relative to the

25    [crypto] [e]xchange” in general; none of it gave “rise to an inference of mutual assent of any

26    particular offer and acceptance between plaintiff and the [] [d]efendants” as to the disparate terms

27    alleged. Id. (emphasis added). A like conclusion is compelled here.

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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR          Document 150        Filed 04/10/25      Page 17 of 34



 1           The cases Musk invokes (see Opp. at 9-10) only support the point that an implied contract

 2    requires definite obligations arising from specific and readily-identifiable conduct. Faigin v.

 3    Signature Group Holdings, Inc., 211 Cal. App. 4th 726 (2012), for example, involved an implied

 4    contract to terminate the plaintiff from his employment only for good cause. That specific

 5    undertaking arose from the parties’ respective conduct, including personnel policies and practices

 6    the employer had adopted, the plaintiff’s length of service, the employer’s repeated assurances of

 7    continued employment, and industry practice. Id. at 738-39. Likewise, in Kashmiri v. Regents of

 8    Univ. of Cal., 156 Cal. App. 4th 809 (2007), the court found a similarly-circumscribed implied

 9    contract right, barring the California Regents from increasing a professional degree fee for certain

10    UC graduate students, based on commitments the Regents made in “catalogues and on the

11    University’s website” that created an “implied contract” upon students’ “accept[ance] [of] the

12    University’s offer of enrollment.” Id. at 829, 831. Musk alleges nothing like that here.

13           C.      Musk does not plead an implied covenant claim (Count III).

14           Musk’s failure to plead the existence of any contract dooms his implied covenant claim. See

15    Br. at 9; Langan v. United Servs. Auto. Ass’n., 69 F. Supp. 3d 965, 980 (N.D. Cal. 2014). The claim

16    also fails on the independent ground that its premise impermissibly mimics that of his contract

17    claims. See Br. at 9. Attempting to dodge this defect, Musk now contends that OpenAI supposedly

18    “abused” the “discretion” conferred on it by the purported terms of the contract. Opp. at 10. But

19    the FAC doesn’t identify what purported “terms” conferred that “discretion,” nor how it was

20    purportedly “abused.” See ¶ 273 (alleging that “some” unidentified “terms” of the contract “may

21    have vested” Altman and OpenAI with unspecified “discretion”).3

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        Musk’s argument also mischaracterizes California law, which requires that contract terms
      expressly confer discretion before the implied covenant can be invoked on this basis. See Chen v.
26    PayPal, Inc., 61 Cal. App. 5th 559, 571 (2021) (considering whether defendant breached the
      implied covenant through bad faith exercise of a “provision [expressly] affording [defendant] ‘sole
27
      discretion’ to place” holds on plaintiff’s funds). The principle does not operate to transform every
28    claim for alleged breach of a vague and ill-defined contract term into a duplicative claim for breach
      of the implied covenant.
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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR          Document 150        Filed 04/10/25      Page 18 of 34



 1    II.    PLAINTIFFS’ ALLEGATIONS CANNOT SUPPORT ANY FRAUD CLAIM.

 2           A.      Musk’s fraud claim is time-barred (Count VII).

 3           Musk’s fraud claim is barred on the face of the complaint by the applicable three-year statute

 4    of limitations. See Br. at 10; Cal. Civ. Proc. Code § 338(d). As Musk’s opposition makes clear, his

 5    fraud claim is based on a more than seven-year old email from September 21, 2017 in which Altman

 6    wrote: “[I] remain enthusiastic about the nonprofit structure!” Opp. at 2 (citing FAC, Ex. 13). The

 7    only theory of fraud pleaded is that this statement amounted to a “promise” that OpenAI would

 8    continue as a nonprofit, Opp. at 12; ¶¶ 306-07, and that the “promise” was a “lie” because “Altman

 9    and Brockman agreed among themselves to figure out a structure for an equity fundraise—in other

10    words, convert to a for-profit structure”—shortly thereafter. ¶¶ 105-06. Musk admits that “the FAC

11    alleges that Altman and Brockman proposed a ‘capped-profit company’ in March 2019,” Opp. at

12    14, and “launched” that “for-profit” entity with Musk’s full knowledge the same month. FAC

13    ¶¶ 112-16. The only alleged “fraud” thus occurred five years before Musk filed suit.4

14           Musk nevertheless argues that the statute of limitations did not begin to run in March 2019

15    because he has alleged an “ongoing scheme only recently exposed.” Opp. at 14. Nonsense. By

16    Musk’s own admission, the “for-profit structure” was disclosed to him and publicly announced in

17    March 2019, supposedly confirming that Altman’s “promise” was false. ¶¶ 106, 113-16. Indeed,

18    Musk alleges that he himself described the for-profit entity as OpenAI’s “for-profit arm” in 2019

19    (¶ 115), and asserts in his opposition he “explicitly opposed” an alleged effort to “convert” the

20    nonprofit at this time (Opp. at 2).5 The claim was thus time-barred three years ago, as are Musk’s

21    claims for aiding and abetting fraud (Count VIII) and unjust enrichment (Count IV), which rely on

22    the same underlying alleged fraud.

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        Musk notes that “dismissal on statute of limitations grounds” is only proper where untimeliness
      is “apparent on the face of the complaint.” Opp. at 14 (quoting Huynh v. Chase Manhattan Bank,
25    465 F.3d 992, 997 (9th Cir. 2006)). It is here—Musk expressly alleges in the FAC that Altman’s
      “promise” was broken no later than March 2019.
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        To be clear, the 2019 creation of the capped-profit was not a “conversion,” and nor is the
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      restructuring currently under contemplation. The nonprofit OpenAI, Inc. remained in existence in
28    2019 and will remain in existence if the contemplated restructuring occurs. But for purposes of this
      motion, the OpenAI Defendants accept Musk’s characterization of the 2019 change.
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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR           Document 150        Filed 04/10/25     Page 19 of 34



 1           B.      Musk fails to plead fraud with particularity (Count VII).

 2           The claim independently fails because it does not meet the pleading requirements of Rule

 3    9(b). Musk does not dispute that Count VII, while labeled simply “fraud,” is a claim for promissory

 4    fraud—it is premised on alleged “promises [the OpenAI] Defendants made without intention to

 5    perform them.” Opp. at 12; see Br. at 9. Musk fails to plead even the most fundamental elements

 6    of a promissory fraud claim, let alone with particularity, as he does not allege any false “promise”

 7    by Altman or Brockman that was made with a present intent of nonperformance. Behnke v. State

 8    Farm Gen. Ins. Co., 196 Cal. App. 4th 1443, 1453 (2011); see also Joint Statement Outlining

 9    Elements of Claims, Dkt. 30 at 1 (listing elements).

10           From Altman’s September 2017 email expressing that he “remain[ed] enthusiastic about

11    the nonprofit structure” Opp. at 2 (citing FAC, Ex. 13), Musk divines a “binding commitment[]

12    about OpenAI’s core structure and mission,” id. at 12, apparently for all time, that would preclude

13    the OpenAI nonprofit entity from creating for-profit entities. The statement contains no such

14    commitment—as the law, common sense, and Musk’s own allegations confirm. First, statements

15    of subjective opinion or belief like these are not enforceable “promises” or “commitments” as a

16    matter of law. See Louis v. Nailtiques Cosmetic Corp., 423 F. App’x 711, 713 (9th Cir. 2011)

17    (collecting cases; statements of opinion not actionable because “[p]romises too vague to be

18    enforced will not support a fraud claim”). The reason is simple: as Musk’s own cases explain,

19    promissory fraud “occurs when someone promises to do something without intending to do it.”

20    Glenn, 2002 WL 31022068 at *3 (cited in Opp. at 12). Altman’s subjective statement of enthusiasm

21    simply is not a promise. Second, even if it could be characterized as one, no plausible reading of

22    the email supports the meaning Musk urges now: that Altman agreed to maintain OpenAI’s precise

23    corporate structure exactly as it existed in 2017 in perpetuity.6

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      6
        The same is true with respect to Zilis’s email to Musk in September 2017, stating that “Altman
26    had informed her that he was ‘great with keeping OpenAI non-profit and continuing to support it.’”
      ¶ 308 (citing FAC, Ex. 14). Plaintiffs do not explain how Zilis’s recounting of a purported
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      conversation with Altman could reflect an actionable promise to Musk, or how anything in Zilis’s
28    email could be read as a binding commitment to maintain OpenAI’s corporate structure unchanged
      forever.
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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR           Document 150           Filed 04/10/25    Page 20 of 34



 1           Musk’s own allegations refute that reading. Just months after this September 2017

 2    “enthusiasm” exchange, Musk bemoaned OpenAI’s corporate structure, writing that the

 3    organization was “on a path of certain failure relative to Google” and that there “obviously needs

 4    to be immediate and dramatic action” or OpenAI would be “consigned to irrelevance.” FAC,

 5    Ex. 16. Musk thus endorsed a “for profit pivot” for OpenAI that would have the organization

 6    “attach to Tesla as its cash cow” to help it “sell a lot of cars/trucks.” Id. These exchanges in the

 7    immediate aftermath of Altman’s purported fraudulent “promise” negate Musk’s claim now, more

 8    than seven years later, that Altman made a “binding commitment about OpenAI’s core structure.”

 9    Opp. at 12.

10           Musk’s own cited authorities highlight the difference between Altman’s subjective

11    statement of enthusiasm, and the clear and unequivocal false “promises” needed to support a claim

12    for promissory fraud. See Opp. at 12-13. In Glenn, for example, a university promised to “endow a

13    professional chair” if a donor provided funds. 2002 WL 31022068 at *1. The donor provided the

14    funds, but the university “never [] funded the professorship, nor did they tell [the donor] they were

15    not financing the position.” Id. Likewise, in Lazar v. Superior Ct., 12 Cal. 4th 631 (1996), the

16    plaintiff alleged that an employer “in order to induce him to [leave New York and] come to work

17    in California, [] intentionally represented to him he would be employed by the company so long as

18    he performed his job, he would receive significant increases in salary, . . . the company was strong

19    financially,” the plaintiff “would enjoy security and a strong future,” and the plaintiff “would have

20    a long-term relationship with the company.” Id. at 636, 639. In reality, the company was at the time

21    “experienc[ing] its worst economic performance in recent history,” was “planning an operational

22    merger that would [imminently] eliminate [plaintiff]’s position,” and had no “intention of

23    retaining” the plaintiff long term. Id. at 636. In contrast to these clear promises and representations,

24    Musk does not even identify what precisely Altman and Brockman are alleged to have undertaken.

25           Equally fatal is Musk’s failure to plead any fact suggesting that Altman and Brockman

26    intended “not to perform” any supposed promise. Behnke, 196 Cal. App. 4th at 1453. Musk claims

27    that he need only plead this intent “generally.” Opp. at 13. When pleading promissory fraud,

28    however, plaintiffs must make “clear, specific and unequivocal” allegations “differentiating the

                                                        12
               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR          Document 150           Filed 04/10/25   Page 21 of 34



 1    [assertedly] false promise from a mere broken promise.” Valencia v. Sharp Elecs. Corp., 561 Fed.

 2    App’x 591, 593-94 (9th Cir. 2014); Richardson v. Reliance Nat’l Indem. Co., 2000 WL 284211, at

 3    *4-5 (N.D. Cal. Mar. 9, 2000) (claim for promissory fraud failed where plaintiff “allege[d] no facts

 4    from which the Court [could] infer that the allegedly fraudulent statements were actually false when

 5    made”). Musk offers no particularized allegation suggesting the alleged promise here—Altman’s

 6    vague statement of enthusiasm for a nonprofit structure—was false when made.

 7           C.      Musk’s unjust enrichment claim falls with his fraud claim (Count IV).

 8           Musk’s failure to plead his fraud claim dooms his claim for unjust enrichment, which rests

 9    on the same premise—i.e., OpenAI’s purported solicitation of Musk’s donations through alleged

10    “misrepresent[ations].” See ¶ 280. Where, as here, an unjust enrichment claim is predicated on

11    “allegations of fraudulent conduct,” “such allegations must [] meet the heightened pleading

12    standard of Rule 9(b),” and failure to plead fraud to that standard is fatal to the claim. See Verde

13    Media, 2015 WL 374934, at *8. Musk’s authority is in accord. See Opp. at 11-12; Astiana v. Hain

14    Celestial Grp., Inc., 783 F.3d 753, 762 (9th Cir. 2015) (unjust enrichment requires that “a defendant

15    [be] unjustly conferred a benefit through mistake, fraud, coercion, or request” (emphasis added)).

16           In suggesting his unjust enrichment claim “cannot be dismissed as merely duplicative,”

17    Opp. at 12, Musk misrepresents the OpenAI Defendants’ argument. The fact that this claim

18    overlaps with Musk’s fraud claim does not in itself warrant dismissal—rather, because the unjust

19    enrichment claim “sounds in fraud” and is predicated on the same allegations of fraud, Musk’s

20    failure to plead fraud with the requisite particularity is equally fatal to both counts. And because

21    this count is premised on those same allegations, it is likewise untimely. See supra at 10; Cal. Civ.

22    Proc. Code § 339(1) (two year statute of limitations for breach of quasi-contract).

23           D.      Musk’s constructive fraud claim likewise fails (Count VI).

24           Musk also does not meaningfully dispute that his constructive fraud claim is based on the

25    same alleged “material promises, representations, and reassurances” (¶ 296) as the rest of his fraud

26    claims, none of which is pleaded with the required particularity. See Opp. at 14. Thus—while the

27    OpenAI Defendants preserve their argument that Musk lacks standing to assert a claim for breach

28    of charitable trust and cannot circumvent that legal defect by repackaging the claim as one for

                                                       13
               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR          Document 150           Filed 04/10/25   Page 22 of 34



 1    constructive fraud (see Br. at 15)—Musk’s failure to plead fraud provides an independent basis for

 2    dismissal. See In re Verisign, Inc. Derivative Litig., 531 F. Supp. 2d 1173, 1219 (N.D. Cal. 2007)

 3    (dismissing constructive fraud claim under Rule 9(b).

 4           E.      Musk and xAI do not plead a civil RICO violation (Counts XXV & XXVI).

 5           In their opposition, Musk and xAI fail to salvage any of the four species of racketeering

 6    claims they allege: (1) a § 1962(c) theory premised on Defendants allegedly “conduct[ing] . . .

 7    OpenAI, Inc.’s affairs through a pattern of racketeering” (¶¶ 507-14); (2) a § 1962(a) theory

 8    premised on their alleged “invest[ing]” of “income derived . . . from a pattern of racketeering

 9    activity” in OpenAI (¶¶ 515-19); (3) a § 1962(b) theory premised on their alleged “control over

10    OpenAI, Inc.” “through a pattern of racketeering activity” (¶¶ 520-24); and (4) an alleged RICO

11    “conspiracy” under § 1962(d) (Count XXVI).

12                   1.      Plaintiffs do not allege predicate acts of wire fraud.

13           In asserting an alleged pattern of racketeering through wire fraud, Plaintiffs do “not come

14    remotely close to meeting Rule 9(b)’s heightened [pleading] standard,” which is particularly

15    “exacting in the [RICO] context.” Aniel v. PHH Mortg. Corp., 2022 WL 2164702, at *6 (N.D. Cal.

16    June 1, 2022); see also Desoto v. Condon, 371 F. App’x 822, 824 (9th Cir. 2010) (dismissing

17    “vague and conclusory” wire fraud allegations); Seva v. Shri Shirdi Sai Baba Sansthin L.A., 2013

18    WL 1431673, at *4 (C.D. Cal. Apr. 9, 2013) (dismissing RICO claims predicated on wire fraud

19    relating to charitable donations). Plaintiffs’ wire fraud allegations just rehash Musk’s deficient

20    contract and promissory fraud claims—concluding, with no particularized factual support, that

21    Altman and Brockman “exploit[ed] Musk and others . . . by inducing them with repeated

22    misrepresentations to make significant . . . contributions”—only to “exploit[] [those donations] to

23    enrich themselves.” ¶ 486; see also Br. at 11-12. Plaintiffs identify no specific representation that

24    was false when made or that was made with intent to defraud; they come nowhere near adequate

25    pleading of a “pattern of racketeering activity” through putatively criminal acts of wire fraud. See

26    Eclectic Props. E., LLC v. Marcus & Millichap Co., 751 F.3d 990, 997 (9th Cir. 2014).

27           Trying to cure these infirmities, Plaintiffs in their opposition assert that the “timeline of

28    events detailed in the FAC” shows various statements were “knowingly false when made,” and that

                                                       14
               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR           Document 150           Filed 04/10/25    Page 23 of 34



 1    “Brockman’s own words reveal [Defendants’] deception.” Opp. at 16. But the (undefined)

 2    “timeline” is not a specific allegation of knowing falsity, and Brockman’s email to Musk and

 3    Altman in November 2015 saying he hoped for OpenAI to present itself as “a neutral group looking

 4    to collaborate widely” because “that’s the best way to bootstrap ourselves into being a leading

 5    research institution” can’t possibly show fraud because, among other things, it was addressed to

 6    Musk, the supposed victim. See id. (quoting ¶ 311); see also FAC, Ex. 3.

 7                   2.      Plaintiffs’ RICO claims also fail for independent reasons.

 8           No “conduct of an enterprise.” Plaintiffs do not dispute that stating a § 1962(c) claim

 9    requires alleging “the existence of two distinct entities: (1) a person . . . and (2) an ‘enterprise,’”

10    Ferrari v. Mercedes-Benz USA, LLC, 2016 WL 7188030, at *2 (N.D. Cal. Dec. 12, 2016), or that

11    the FAC expressly alleges that the OpenAI Defendants—who comprise both the alleged

12    “enterprise” and “persons”—“operate together as a unitary enterprise.” See Opp. at 17; see also

13    ¶ 241. Plaintiffs attempt to wave away this pleading defect, saying it amounts only to “belt and

14    suspenders [] ‘alter ego’ pleading.” Id. But this does not change that the FAC’s own allegations

15    negate the distinctiveness required to plead RICO. Plaintiffs’ citation to Negrete v. Allianz Life Ins.

16    Co., 926 F. Supp. 2d 1143 (C.D. Cal. 2013), is inapposite—the case does not even mention the

17    effect of pleading that a RICO “enterprise” and “persons” are each other’s alter egos and notes that

18    “courts in the Ninth Circuit have dismissed a plaintiff’s RICO claim where [a] corporate family . . .

19    constituted both the alleged person and enterprise.” Id. at 1153 (cleaned up).

20           No investment-specific injury. Section 1962(a) requires particularized allegations showing

21    “an injury” proximately caused by “the use or investment of racketeering income” that is “distinct

22    from an injury caused by the predicate acts themselves.” Gjovik v. Apple Inc., 2024 WL 2309100,

23    at *7 (N.D. Cal. May 20, 2024) (emphasis in original); see also Sybersound Records, Inc. v. UAV

24    Corp., 517 F.3d 1137, 1149 (9th Cir. 2008) (“an investment injury [must be] separate and distinct

25    from the injury flowing from the predicate act[s]” of fraud). The FAC pleads no such investment-

26    specific injury. See ¶¶ 516-18. Plaintiffs now assert that the “competitive advantage and market

27    dominance resulting from [] investment of proceeds misappropriated from the charity directly

28    harms xAI’s market position.” Opp. at 17. But Plaintiffs do not explain how the alleged misuse of

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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR            Document 150            Filed 04/10/25    Page 24 of 34



 1    Musk’s donations beginning in 2018 could have “proximately caused” some unidentified and

 2    unpleaded competitive harm to xAI, which was not launched until 2023.

 3            No “control”-specific injury. Section 1962(b) requires allegations of “injury . . . resulting

 4    from defendant’s control or acquisition of a [RICO] enterprise.” Metro Servs. Grp. v. Travelers

 5    Cas. & Sur. Co. of Am., 2021 WL 2633416, at *6 (N.D. Cal. June 25, 2021). Plaintiffs now contend

 6    they suffered a “control-based injury” “in November 2023 when Defendants leveraged their power

 7    to reinstate Altman [after his brief dismissal as CEO] in just 4 days,” which purportedly “creat[ed]

 8    competitive barriers that specifically harmed xAI.” Opp. at 18. But Plaintiffs do not explain, much

 9    less allege, how or why Altman’s reinstatement as CEO created any “competitive barriers” for xAI.

10    See Wagh v. Metris Direct, Inc., 363 F.3d 821, 830 (9th Cir. 2003) (overruled on other grounds)

11    (no control-specific injury where plaintiff “did not include more than the vaguest allusions to the

12    acquisition or maintenance of any interest in or control of the alleged enterprise”).

13            No conspiracy claim. Plaintiffs do not dispute that their allegations of RICO conspiracy

14    rise and fall with their substantive RICO claims. See Sanford v. MemberWorks, Inc., 625 F.3d 550,

15    559 (9th Cir. 2010); see also Opp. at 18-19. Thus, having failed to plead a substantive RICO claim,

16    Plaintiffs cannot maintain their conspiracy claim.

17    III.    MUSK’S CLAIM FOR BREACH OF CHARITABLE TRUST.

18            The OpenAI Defendants understand that the Court has denied the OpenAI Defendants’

19    motion to dismiss as to this claim and has held, at this stage of the proceedings, that Musk has

20    standing to assert a charitable trust claim “as a settlor” and that “further briefing on this topic is not

21    necessary.” PI Order, Dkt. 121 at 15 n.11. The OpenAI Defendants therefore will not brief the issue

22    further at this time, but preserve all arguments.

23    IV.     THE FALSE ADVERTISING CLAIMS (COUNTS XVIII & XIX) SHOULD BE
              DISMISSED.
24

25            Plaintiffs assert two claims for false advertising: one under California’s false advertising
26    statute, Bus. & Prof. Code §§ 17500 et seq. (Count XIX), and a claim under the Lanham Act, 15
27    U.S.C. § 1125(a)(1)(B) (Count XVIII). Plaintiffs’ California false advertising claim should be
28    dismissed for failure to identify any statement made for purposes of “dispos[ing] of real or personal
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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR           Document 150         Filed 04/10/25      Page 25 of 34



 1    property.” McCann v. Lucky Money, Inc., 129 Cal. App. 4th 1382, 1387-88 (2005).7 The OpenAI

 2    Defendants understand the Court to have severed Plaintiffs’ Lanham Act claim from the current

 3    proceedings. See April 4, 2025 CMC Tr.(“Tr.”) at 6:6-12. But to the extent the Court intends to

 4    rule on this claim at this time, dismissal is warranted for the related reason that Plaintiffs fail to

 5    identify “a false statement of fact by the defendant in a commercial advertisement about its own or

 6    another’s product,” and on the separate ground that the FAC lacks allegations showing injury “as

 7    a result of the false statement, either by direct diversion of sales from [plaintiffs] to defendant or

 8    by a lessening of the goodwill associated with [plaintiffs’] products.” HomeLight, Inc. v. Shkipin,

 9    694 F. Supp. 3d 1242, 1254 (N.D. Cal. 2023).

10           A.      Plaintiffs’ California false advertising claim (Count XIX) fails.

11           Although Count XIX focuses principally on general statements concerning OpenAI’s

12    mission, see ¶¶ 393, 409-12, Plaintiffs make no mention of these in their opposition, abandoning

13    them as predicates for the claim. That is for good reason, as this Court recently held that several of

14    those precise statements—which purportedly “contained “false and/or misleading representations”

15    suggesting that OpenAI “would be largely open source for the benefit of humanity, and would not

16    be concentrated or used for private commercial gain” (¶ 409; see also ¶ 393)—were untethered to

17    any “specific promotion of goods or services” and thus did not qualify as “actionable commercial

18    speech.” Order Granting in Part Motion to Dismiss, OpenAI, Inc. v. Open Artificial Intelligence,

19    Inc., No. 23-cv-03918-YGR, at *5 (N.D. Cal. Sept. 25, 2024), ECF No. 127.

20           The statements Plaintiffs now focus on instead are: that OpenAI (1) has “substantial

21    safeguards in place”; (2) “use[s] a multi-tiered safety system” with respect to Dall-E 3; (3) views

22    “[s]afety” as “central to [its] work”; and (4) has “safety in mind” when building GPTs. Opp. at 19-

23

24
      7
        Plaintiffs argue that “false advertising claims under Cal. Bus. & Prof. Code § 17500 need not be
      tied to specific products” and that “[f]alse statements made . . . to solicit donations are sufficient.”
25    Opp. at 21. But nowhere do Plaintiffs plead that any of the statements identified in the false
      advertising counts (¶ 393) were made “with the intent of obtaining charitable solicitations.” People
26    v. Orange County Charitable Servs., 73 Cal. App. 4th 1054, 1075 (1999). Plaintiffs do not even
      allege that the statements were made when OpenAI was seeking or accepting donations. Cf. People
27
      ex rel. Dep’t of Motor Vehicles v. Cars 4 Causes, 139 Cal. App. 4th 1006, 1016 (2006) (respondent
28    had a scheme of obtaining vehicle donations “by representing that the proceeds of sale . . . will be
      contributed to charities”).
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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR          Document 150         Filed 04/10/25      Page 26 of 34



 1    20 (citing ¶ 393). But the FAC lacks any allegation suggesting these statements amounted to

 2    “advertisements” for specific OpenAI products or that they were otherwise made for purposes of

 3    “dispos[ing] of real or personal property.” McCann, 129 Cal. App. 4th at 1395. The statements

 4    therefore cannot support the claim. Id.

 5           Plaintiffs contend that “[a]dvertisements that make representations about safety are

 6    actionable.” Opp. at 20. But that argument assumes its own conclusion that OpenAI’s statements

 7    qualified as “advertisements.” And the cases Plaintiffs cite confirm the contrary and highlight the

 8    infirmities in Plaintiffs’ pleading. In Toyota Motor Corp. Unintended Acceleration Mktg., the

 9    plaintiffs alleged that Toyota made specific representations about the safety of specific car models

10    in “advertisements, brochures, and press kits” for their cars. 754 F. Supp. 2d 1145, 1171 (C.D. Cal.

11    2010). Plaintiffs, in contrast, have not even pleaded that OpenAI had commercial products on the

12    market at the time the relevant statements were made. And in Zeiger v. WellPet LLC and Anunziato

13    v. eMachines, Inc., the statements challenged under California’s false advertising statute were

14    included in materials accompanying the products at issue, rendering the speech plainly commercial

15    in nature. See Zeiger, 304 F. Supp. 3d 837, 842, 851 (N.D. Cal. 2018) (product labels); Anunziato,

16    402 F. Supp. 2d 1133, 1139-40 (C.D. Cal. 2005) (user manuals). Plaintiffs do not allege that

17    OpenAI’s statements accompanied any particular product or service.8

18           Moreover, even if these statements were actionable advertisements, Plaintiffs have failed to

19    allege their falsity with particularity. No allegation in the FAC—whether asserting that the

20    “Whisper product” exhibited some “hallucinated material,” that the o1 was rated “medium risk,”

21    or otherwise (Opp. at 21)—can be read to suggest that OpenAI’s statements concerning its

22    maintenance of safeguards and its attention to safety as a general matter were false when made.

23    See Newcal Indus., Inc. v. Ikon Office Sol., 513 F.3d 1038, 1053 (9th Cir. 2008) (relevant inquiry

24    8
        Nor are Plaintiffs correct that statements about safety are actionable in all circumstances, or that
25    the statements challenged here (Opp. at 19-20) are subject to the false advertising laws. Cf. Pacira
      BioSciences, Inc. v. Ventis Pharma, Inc., 2025 WL 576549, at *10 (C.D. Cal. Jan. 17, 2025)
26    (statements about the “safety” of defendant’s product—including that the product was “safe and
      acceptable for use”—were “general and subjective” and thus did not “support a claim of false
27
      advertising”); Muldoon v. DePuy Orthopaedics, Inc., 2024 WL 3522204, at *11 (N.D. Cal. July 23,
28    2024) (“An assertion that a product is ‘safe’ or ‘effective’ generally constitutes unactionable
      puffery . . . .”).
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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR          Document 150          Filed 04/10/25    Page 27 of 34



 1    is whether statements were “‘false or misleading’ at the time they were made”). As noted, Plaintiffs

 2    do not even allege when the statements were made.

 3           B.      Plaintiffs’ Lanham Act claim (Count XVIII) fails.

 4           To the extent the Court intends to consider the Lanham Act claim at this juncture, the claim

 5    fails for the same reasons and others. Under the Lanham Act, Plaintiffs must adequately allege that

 6    OpenAI, “in commercial competition with [Plaintiffs],” engaged in “commercial speech” that was

 7    “sufficiently disseminated to the relevant purchasing public” “for the purpose of influencing

 8    consumers to buy defendant’s goods or services.” Alfasigma USA, Inc. v. First Databank, Inc., 525

 9    F. Supp. 3d 1088, 1099 (N.D. Cal. 2021). Plaintiffs do not even plead when the challenged

10    statements were made—let alone that (1) OpenAI was “in commercial competition” with xAI at

11    the time they were made, (2) that the purpose of the speech was commercial, or (3) that the speech

12    reached a sufficient portion of the “purchasing public.” Id.; see Language Line Servs., Inc. v.

13    Language Servs. Assocs., LLC, 2011 WL 13153247, at *5 (N.D. Cal. Mar. 17, 2011) (“It is

14    insufficient for a plaintiff’s allegations to merely mimic the elements of a false advertising claim

15    without including facts regarding the location, timing, or content of the allegedly false

16    statements.”). Without these allegations, Plaintiffs fail to “raise an inference that [OpenAI] made

17    the alleged statement[s] in the context of ‘commercial advertising or promotion.’” Language Line

18    Servs., Inc., 2011 WL 13153247, at *5.

19           Plaintiffs’ Lanham Act claim fails for the independent reason that they have not adequately

20    alleged “commercial injury” resulting from OpenAI’s challenged statements. In their opposition,

21    Plaintiffs assert that OpenAI’s purported “misrepresentations” diverted customers from xAI to

22    OpenAI, “causing Plaintiffs to incur measurable losses in customer acquisition, market penetration,

23    and overall profitability.” Opp. at 21 (citing ¶ 402). But this rests on the FAC’s conclusory

24    assertions that xAI’s products are “comparable” to OpenAI’s and that OpenAI’s statements have

25    somehow “diverted” potential customers away from xAI. ¶ 402. Those assertions, even if true,

26    cannot plausibly establish that xAI’s injury “flow[s] directly from the deception wrought by”

27    OpenAI’s general statements concerning safety practices, which “necessarily caused [customers]”

28    not to use xAI’s products. HomeLight, 694 F. Supp. 3d at 1254-55; see also LegalForce, Inc. v.

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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR            Document 150       Filed 04/10/25    Page 28 of 34



 1    LegalZoom.com, Inc., 2019 WL 1170779, at *1-2 (N.D. Cal. Mar. 13, 2019) (allegations that

 2    plaintiff “suffered lost revenue and market share, reduced asset value, and increased advertising

 3    costs” as a result of defendant’s “infringing conduct” were “conclusory in nature” and thus did not

 4    support plaintiff’s standing).

 5    V.     PLAINTIFFS’ DERIVATIVE CLAIMS (COUNTS XXII, XXIV) FAIL.

 6           A.      Musk and Zilis lack standing to assert derivative claims.

 7           Musk and Zilis assert three derivative claims: Counts XXII (breach of fiduciary duty),

 8    XXIII (self-dealing), and XXIV (aiding and abetting breach of fiduciary duty). In its PI Order, the

 9    Court dismissed Count XXIII for lack of standing because it was “insufficient as a matter of law”

10    that Musk and Zilis “may have been members” of OpenAI “at one point.” Dkt. 121 at 16. Plaintiffs

11    concede that this holding on Count XXIII disposes of their remaining two derivative claims, and

12    brief issues related to those claims only “for purposes of preservation.”9 Opp. at 22 & n.5. While

13    Plaintiffs’ concession renders it unnecessary for the Court to reach any of these arguments, the

14    OpenAI Defendants respond briefly to them here for completeness.

15           Section 5710 of California’s Corporations Code governs derivative actions brought by

16    members on behalf of nonprofit organizations—regardless of whether the claims asserted therein

17    are products of statute or common law. See Wisniewski v. Presidio Place Condo. Ass’n, 2002 WL

18    31032464, at *5-7 (Cal. Ct. App. Sept. 12, 2002) (applying § 7710(b)(1), the equivalent provision

19    for nonprofit mutual benefit corporations, in a derivative action for breach of fiduciary duty and

20    negligence). Thus, § 5710 applies to all of Musk and Zilis’s derivative claims. And the Court has

21    already held that “[d]espite expending considerable paper explaining why the requirements of

22    Section 5710 are met, Musk and Zilis are not currently members of OpenAI” and thus “[n]either . . .

23    have standing to seek relief under the statute.” Dkt. 121 at 16.

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        In the parties’ Joint Case Management Statement, filed before their opposition brief, Plaintiffs
      suggested that “equitable claims” for breach of fiduciary duty (Count XXII) and aiding and abetting
26    breach of fiduciary duty (Count XXIV) “could not have been dismissed by the Court’s standing
      analysis” with respect to the derivative self-dealing claim (Count XXIII), “which was brought under
27
      Cal. Corp. Code § 5233, a specific statute with its own, detailed standing requirements.” Dkt. 125
28    at 1-2 n.2. Plaintiffs have now abandoned that argument and concede that the Court’s holding with
      respect to the self-dealing claim disposes of their remaining derivative claims. Opp. at 22 & n.5.
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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR           Document 150           Filed 04/10/25    Page 29 of 34



 1           Federal law would compel this result even if state law did not. See Br. at 17. Plaintiffs argue

 2    that Federal Rule of Civil Procedure 23.1 “merely governs pleading requirements” and does not

 3    displace California “substantive” law of standing. Opp. at 22. But in the Ninth Circuit, Rule 23.1’s

 4    requirement that “shareholders or members of a corporation” must “fairly and adequately represent

 5    the interests of” the corporation’s other shareholders or members, Fed. R. Civ. P. 23.1, is procedural

 6    and thus governs all derivative claims filed in federal court, see Kona Enters., Inc., 179 F.3d at 769.

 7    This means that putative derivative plaintiffs like Musk and Zilis must be members not just at the

 8    time they filed suit, but throughout the pendency of the litigation, see Quinn v. Anvil Corp., 620

 9    F.3d 1005, 1012 (9th Cir. 2010). Musk and Zilis thus lack standing to assert derivative claims under

10    Rule 23.1 and Ninth Circuit law—an independent basis for dismissing their derivative claims. See

11    Two Ten, LLC v. Cellxion, LLC, 2012 WL 12905554, at *2 (C.D. Cal. Apr. 30, 2012) (plaintiff

12    “lack[ed] standing” to bring a derivative suit because it was “no longer a member of [the

13    corporation]”).

14           The third independent defect in Plaintiffs’ standing is that they fail to allege demand or

15    demand futility with particularity. See Cal. Corp. Code § 5710(b)(2); see Br. at 17-19. Because the

16    FAC does not even identify OpenAI’s current directors, Plaintiffs cannot assert demand futility.10

17    See Bader v. Anderson, 179 Cal. App. 4th 775, 790 (2009) (demand futility must be assessed “on

18    a director-by-director basis”); Shields v. Singleton, 15 Cal. App. 4th 1611, 1622 (1993) (“general

19    allegations” that are “indiscriminately level[ed] against all [] directors” insufficient). And they have

20    not pleaded demand: Musk and Zilis’s purported expression of unspecified “concerns” to OpenAI’s

21    board at unidentified times “via phone calls, in-person discussions, public statements via social

22    media, and emails” (¶ 446) is not the sort of “earnest” effort to “exhaust[] all means within

23    [plaintiff’s] reach to obtain, within the corporation itself, the redress of [plaintiff’s] grievances.”

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        Plaintiffs waived their demand futility argument in any event. Having alleged that they “made a
26    demand” on OpenAI’s board, Opp. at 22, Plaintiffs “concede[] the board’s independence,” id. at 23;
27    see Copeland v. Lane, 2013 WL 1899741, at *7 (N.D. Cal. May 6, 2013) (“A shareholder who
      makes a demand concedes the disinterestedness and independence of a majority of the board to
28    respond to the demand and waives any claim that demand is excused.”).

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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR           Document 150        Filed 04/10/25       Page 30 of 34



 1    Bader, 179 Cal. App. 4th at 789.11

 2           B.      Musk and Zilis fail to state a claim for breach of fiduciary duty (Count XXII).

 3           While Plaintiffs concede they lack standing to assert derivative claims pursuant to the

 4    Court’s PI Order, they argue “for purposes of preservation” that their fiduciary breach claim would

 5    be tenable but for the standing defect. Opp. at 22 n.5. Though the Court (again) need not reach the

 6    issue, Plaintiffs are wrong.

 7           Plaintiffs argue that the FAC’s allegations of “self-dealing” establish “a material conflict of

 8    interest” sufficient to rebut the business judgment rule. Opp. at 23. Not so. To overcome the

 9    business judgment rule, Plaintiffs “must plead facts supporting the conclusion either that [1] a

10    majority of directors breached fiduciary duties or [2] that an interested director controlled or

11    dominated the board as a whole or [3] that the interested director failed to disclose his interest in

12    the transaction to the board and a reasonable board member would have regarded the existence of

13    the material interest as a significant fact in the evaluation of the proposed transaction.” Off. Comm.

14    of Bond Holders of Metricom, Inc. v. Derrickson, 2004 WL 2151336, at *5 (N.D. Cal. Feb. 25,

15    2004) (cleaned up) (emphasis in original).

16           The FAC does none of these things. It alleges only that Altman had purported conflicts

17    (¶¶ 137, 139-44), which is insufficient. See Potter v. Hughes, 546 F.3d 1051, 1059 n.3 (9th Cir.

18    2008) (“Absent an indication that the Board lacked good faith as a whole (or at least in the majority),

19    the allegations that some members were interested in the transaction does not rebut the presumption

20    that the board’s decision was a legitimate business judgment.”); McMichael v. U.S. Filter Corp.,

21    2001 WL 418981, at *14 (C.D. Cal. Feb. 23, 2001) (where plaintiffs failed to plead that “a majority

22    of the Board had any personal interest in the alleged injurious transactions,” the board “as a whole”

23    was not deprived of the business judgment rule). The FAC likewise contains no allegations that

24    11
         As explained in the OpenAI Defendants’ opening brief, see Br. at 19 n.5, the law of Delaware
25    (OpenAI’s state of incorporation) applies under the “internal affairs doctrine.” See Lantz Ret. Inv.,
      LLC v. Glover, 2020 WL 528890, at *9 (E.D. Cal. Jan. 31, 2020); Laborers’ Loc. v. Intersil, 868
26    F. Supp. 2d 838, 844 (N.D. Cal. 2012). Dismissal is required under both California and Delaware
      law. See In re Massey Energy Co. Derivative & Class Action Litig., 160 A.3d 484, 497-98 (Del.
27
      Ch. 2017) (continuous membership “at the time of the alleged wrong” and throughout the litigation
28    is required); Bader, 179 Cal. App. 4th at 790-92 (California law follows Delaware law on issues of
      demand and demand futility).
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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR            Document 150          Filed 04/10/25   Page 31 of 34



 1    Altman failed to disclose any purported “interest in the transaction to the board” or that “a

 2    reasonable board member would have regarded the existence of [Altman’s] material interest as a

 3    significant fact in the evaluation of the proposed transaction.” Stang v. Teal Drones, Inc., 2023 WL

 4    11956372, at *5 (N.D. Cal. July 27, 2023). And the FAC does not plead that any particular director

 5    at any relevant point in time was “controlled or dominated” by Altman. Derrickson, 2004 WL

 6    2151336, at *5 (emphasis omitted).

 7    VI.    PLAINTIFFS’ ANTITRUST CLAIMS (COUNTS IX-XVI).

 8           The OpenAI Defendants understand that the Court has stayed Plaintiffs’ antitrust claims

 9    and deemed the motions to dismiss those claims withdrawn. See Tr. at 8:6-9. The OpenAI

10    Defendants reserve the right to renew their motion to dismiss Plaintiffs’ antitrust claims at a later

11    juncture.

12    VII.   PLAINTIFFS’ ACCESSORY CLAIMS (COUNTS V, VIII, XXI & XXIV) FAIL.

13           Plaintiffs’ claims against the “For-Profit Entities” for tortious interference (Count V), aiding

14    and abetting fraud (Count VIII), and aiding and abetting breach of fiduciary duty to Musk (Count

15    XXI) and to OpenAI, Inc. (Count XXIV) fail for numerous reasons.

16           First, there is no well-pleaded underlying claim for breach of contract, fraud, or breach of

17    fiduciary duty. See supra at 2-14, 20-23; Casey v. U.S. Bank Nat’l Ass’n, 127 Cal. App. 4th 1138,

18    1148 (2005).

19           Second, the FAC alleges that the For-Profit Entities are Altman’s agents, and vice-versa,

20    foreclosing Plaintiffs’ accessory claims. See Mintz v. Blue Cross of Cal., 172 Cal. App. 4th 1594,

21    1604, 1607 (2009); Br. at 34. Plaintiffs allege that “OpenAI, Inc. and the For-Profit Entities operate

22    together as a unitary enterprise,” that all OpenAI entities (including the For-Profit Entities) have

23    become “alter egos” of Altman and Brockman, and that “the For-Profit Entities” have been used

24    “as shells to conduct illegal activities.” ¶ 241; see also ¶¶ 113, 322. Notwithstanding these

25    allegations, Plaintiffs now argue that “these entities are legally distinct with separate economic

26    interests.” Opp. at 32 (citing ¶¶ 324, 433, 476) (emphasis in original). The allegations Plaintiffs

27    cite, however, are wholly conclusory, merely asserting that for purposes of the aiding and abetting

28    claims, the For-Profit Entities were not acting in an agency capacity. See id. (citing ¶¶ 324, 433,

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                  OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                             CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR           Document 150           Filed 04/10/25    Page 32 of 34



 1    476). This inconsistent pleading cannot rescue Plaintiffs’ accessory claims. The court held as much

 2    in Rachford v. Air Line Pilots Ass’n, where the plaintiffs argued that the “defendants [were] alter

 3    egos for purposes of some claims, and [were not] alter egos for purposes of other claims.” 2006

 4    WL 1699578, at *6 (N.D. Cal. June 16, 2006). Despite the plaintiffs’ claim that they were “entitled

 5    to plead ‘inconsistent theories’” and that their “alter ego allegations” were pleaded “separately from

 6    the[ir] interference allegations,” the defendants “either [were] or [were] not alter egos,” and could

 7    not “be both,” mandating dismissal of the tortious interference claim. Id. at *5-6.

 8           Third, the only “substantial assistance or encouragement” the For-Profit Entities are alleged

 9    to have given is “the corporate structure necessary” to undertake the challenged conduct, ¶¶ 325,

10    434, 477; Opp. at 33 (noting For-Profit Entities’ alleged “furnishing [of] the corporate structure”

11    used to engage in various purported acts). In other words, the For-Profit Entities are not alleged to

12    have done anything other than exist. That is insufficient. See Impac Warehouse Lending Grp. v.

13    Credit Suisse First Boston Corp., 2006 WL 6935318, at *2 (C.D. Cal. June 20, 2006) (no aiding

14    and abetting liability where “plaintiff’s allegations indicate[d] that defendants were, at best, passive

15    bystanders to the [alleged] fraud”); Diaz v. Intuit, Inc., 2018 WL 2215790, at *8 (N.D. Cal. May

16    15, 2018) (aiding and abetting claim failed where alleged acts were “too insignificant and passive

17    to constitute substantial assistance”). All the more so here, where Plaintiffs indiscriminately allege

18    that 20 entities—some of which did not even exist at the time of the purported underlying wrongs—

19    provided “substantial assistance or encouragement” without pleading which entity undertook what

20    conduct, when, where, and on whose behalf. See Melrose Place Holdings v. Socotra Opportunity

21    Fund, LLC, 2022 WL 3013226, at *4-5 (C.D. Cal. May 31, 2022).

22           Fourth, each of Plaintiffs’ accessory claims is time-barred to the extent premised on the

23    same time-barred fraud allegations discussed above. See supra at 9-10.

24    VIII. PLAINTIFFS’ UCL CLAIM (COUNT XVII) SHOULD BE DISMISSED.

25           Based on the Court’s guidance at the April 4 case management conference, the OpenAI

26    Defendants understand Plaintiffs’ UCL claim to be severed from the current proceedings. See Tr.

27    at 6:6-12. To the extent the claim remains in the case at this time, however, it should be dismissed.

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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR          Document 150           Filed 04/10/25   Page 33 of 34



 1           First, while Plaintiffs argue that the UCL is “intentionally broad” (Opp. at 34), that does

 2    not give them license to lob conclusory and indiscriminate allegations that 26 named defendants

 3    purportedly violated dozens of statutes and other laws, without any attempt to cogently differentiate

 4    who did what, when, or why, or which particular UCL prong is implicated. See Dreifort v. DJO

 5    Global Inc., 2019 WL 5578240, at *7 (S.D. Cal. Oct. 28, 2019); Baba v. Hewlett-Packard Co.,

 6    2010 WL 2486353, at *6 (N.D. Cal. June 16, 2010).

 7           Second, neither Musk nor xAI has standing because neither is plausibly alleged to have

 8    suffered a “loss of money or property caused by” the alleged violation. Durell v. Sharp Healthcare,

 9    183 Cal. App. 4th 1350, 1359 (2010). Plaintiffs now contend that xAI suffered “competitive injury”

10    (Opp. at 34), but the FAC does not allege any “lost money or property” as a result—it doesn’t even

11    identify xAI in the relevant paragraph. See ¶ 389. Musk, meanwhile, is claimed to have lost his

12    purported “donations.” Opp. at 34. But while the FAC asserts that “[b]ut for” Defendants’ alleged

13    UCL violations, “Musk would not have made his significant contributions to OpenAI, Inc.” (¶ 386),

14    it does not allege that the myriad alleged statutory violations and other alleged misconduct induced

15    Musk to donate, or otherwise caused any loss to him personally.

16           Finally, to the extent it is predicated on the FAC’s other defective claims (¶ 387(a)), the

17    UCL claim fails for all of the reasons above. See Baba, 2010 WL 2486353, at *6.

18                                             CONCLUSION

19           The Court should grant the motion to dismiss without leave to amend.

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               OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                          CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR        Document 150          Filed 04/10/25   Page 34 of 34



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24                                                    Fund SPV IV, L.P., Aestas Management
                                                      Company, LLC, and Aestas LLC
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              OPENAI DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                         CASE NO. 4:24-CV-04722-YGR
